             Case 3:05-cr-00447-CRB            Document 66   Filed 04/12/06   Page 1 of 3



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                                    UNITED STATES DISTRICT COURT
10
                                 NORTHERN DISTRICT OF CALIFORNIA
11
                                         SAN FRANCISCO DIVISION
12
13   UNITED STATES OF AMERICA,           )             No. CR 05-00395 CRB
                                         )
14               Plaintiff,              )             [PROPOSED] ORDER EXCLUDING TIME
                                         )             FROM APRIL 5, 2006 TO JUNE 7, 2006
15               v.                      )             UNDER THE SPEEDY TRIAL ACT
                                         )
16   YOUNG JOON YANG, et al.,            )
                                         )
17               Defendants              )
     ____________________________________)
18                                       )
     UNITED STATES OF AMERICA,           )             No. CR 05-00447 CRB
19                                       )
                 Plaintiff,              )
20                                       )
                 v.                      )
21                                       )
     MISUK MOORE, et al.,                )
22                                       )
                 Defendants              )
23   ____________________________________)
                                         )
24   UNITED STATES OF AMERICA,           )             No. CR 05-00613 CRB
                                         )
25               Plaintiff,              )
                                         )
26               v.                      )
                                         )
27   CHANG KUN KIM,                      )
                                         )
28               Defendant               )
     ____________________________________)




     ORDER
     [CR 05-395, 05-447, 05-613, 06-101, 06-192 CRB]
             Case 3:05-cr-00447-CRB            Document 66       Filed 04/12/06     Page 2 of 3



 1   UNITED STATES OF AMERICA,            )                No. CR 06-0101 CRB
                                          )
 2                Plaintiff,              )
                                          )
 3                v.                      )
                                          )
 4   YON SUK PANG, et al.,                )
                                          )
 5                   Defendant            )
                                          )
 6   ____________________________________)
                                          )                No. CR 06-0192 CRB
 7   UNITED STATES OF AMERICA,            )
                                          )
 8                Plaintiff,              )
                                          )
 9                v.                      )
                                          )
10   ANTHONY GAR LAU et al.,              )
                                          )
11                 Defendant              )
                                          )
12    ___________________________________ )
13
             On April 5, 2006, defendants in the above-captioned cases appeared, with counsel, before
14
     the Court for a status conference. Assistant United States Attorney Peter B. Axelrod appeared on
15
     behalf of the United States.
16
             The parties agreed to a continuance of the matter to June 7, 2006, and a corresponding
17
     exclusion of time under the Speedy Trial Act (18 U.S.C. § 3161) to provide defense counsel with
18
     sufficient time to obtain and review discovery.
19
             Accordingly, the Court HEREBY ORDERS that the time from April 5, 2006, to June 7,
20
     2006, is excluded under the Speedy Trial Act, 18 U.S.C. § 3161. For the reasons set forth above,
21
     the Court finds that the failure to grant the requested exclusion would deny defense counsel
22
     reasonable time necessary for effective preparation taking into account the exercise of due
23
     diligence. Further, the Court finds the exclusion warranted on complexity grounds, under 18
24
     U.S.C. § 3161(h)(8)(B)(ii), based on the number of defendants, the number of calls on the wire
25
     and the fact that the vast majority of the calls are in the Korean language. Thus, the Court finds
26
     that the ends of justice served by granting the requested exclusion outweigh the best interest of
27
     the public and the defendant in a speedy trial and in the prompt disposition of criminal cases.
28
     ORDER
     [CR 05-395, 05-447, 05-613, 06-101, 06-192 CRB]   2
             Case 3:05-cr-00447-CRB                Document 66            Filed 04/12/06   Page 3 of 3



 1   The Court therefore concludes that this exclusion of time should be made under 18 U.S.C. §§
 2   3161(h)(8)(A), (h)(8)(B)(ii) and (h)(8)(B)(iv).
 3           Further, the Court ORDERS the parties to appear for a status conference on June 7, 2006,
 4   at 9:30 a.m. in Courtroom #8 on the 19th Floor of the Federal Building.
 5           IT IS SO ORDERED.
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 7   DATED:




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                  04/12/06
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                                                       CHARLES R. BREYER
                                     ED




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 8                                                     UNITED STATES DISTRICT JUDGE
                                 UNIT


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                                                              s R. Bre
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11                                             Judge C




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                                   RT




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     ORDER
     [CR 05-395, 05-447, 05-613, 06-101, 06-192 CRB]          3
